 

 

Case 3:09-Cr-OOO43-CAR-CHW Document 202 Filed 02/03/11 Page 1 of 6

UNITED STATES DISTRICT CoURT

MIDDLE DIsTRIcT oF GEoRGIA, ATHENS DIVIsIoN

 

UNITED STATES OF AMERICA JUDGMENT IN‘ A CRIMINAL CASE
V.
Case Number 3 :09-CR-OOO43~002 (CAR)
DETRIC MCGOWAN
USM Number: 94680-071
Reza Sedghi
Defendant’s Attorney
THE DEFENDANT:
g pleaded guilty to count(s) ls.
L_-l pleaded nolo contendere to count(s) which Was accepted by the court.
m was found guilty on count(s) after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. § 846 i/c/w 21 Conspiracy to Possess With 02/11/2009 ls
U.S.C. §§ 841(a)(1) and Intent to Distribute Cocaine

(b)(l)(B)

The defendant is sentenced as provided in the following pages of this judgment The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[:l The defendant has been found not guilty on count(s) .

m Count(s) Dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district Within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant shall notify the court and United States attorney of any material changes in economic circumstances

Februarv 2. 2011
Date of Imposition of Judgment

Signature of Judge § §
C. ASHLEY ROYAL, h f Uni tates District Judge

3 \Q/M…w@@©l\

Date

 

 

Case 3:09-Cr-OOO43-CAR-CHW Document 202 Filed 02/03/11 Page 2 of 6
DEFENDANT; march M oowAN 4
cAsE NUMBER 3;09-cR-50043-002 (cAR) Judgment ' Page 2
DISTRICT: MIDDLE DlSTRlCT OF GEORGIA

 

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 30
months.
m The Court makes the following recommendations to the Bureau of Prisons:

m The defendant is remanded to the custody of the United States Marshal.

m The Defendant shall surrender to the United States Marshal for this district:
m at ij a.m. i:| p.m. On

m as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

m before 2 p.m. on
[:l as notified by the United States Marshal.
[:| ~as notified by the Probation or Pretrial Office.

RETURN

I have executed this judgment as follows:

 

 

 

 

Defendant delivered on to

at , with a certified copy of this judgment

 

UNITED STATES MARSHAL

By:

 

Deputy U.S, Marshal

 

Case 3:09-cr-00043-CAR-CHW Document 202 Filed 02/03/11 Page 3 of 6

DEFENDANT: DETRIC McGOWAN
CASE NUMBER 3;09-CR~00043-002 (CAR)
DISTRICT: MIDDLE DISTRICT OF GEORGIA

Judgment - Page 3

 

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 5 years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance The defendant shall refrain from any unlawful use of a controlled

substance The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the Court.

i:] The above drug testing condition is suspended based on the court’s determination that the defendant poses a low risk of future
substance abuse. (Check, if applicable.)

g The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

l:l The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,et
seq.) As directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in Which he or she
resides, works of is a student, or was convicted of a qualifying offense. (Check, if applicable.)

l:i The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that defendant pay in accordance with the
Schedule of Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as any additional conditions
on the attached page.
STANDARD CONDITIONS OF SUPERVISIGN

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report Within the first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any

paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
observed in plain view by the probation ofticer;

l l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the court;
and

13) as directed by the probation ofticer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal

history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

 

Case 3:09-cr-00043-CAR-CHW Document 202 Filed 02/03/11 Page 4 of 6

DEFENDANT: DETRIC McGOWAN
CASE NUMBER 3109-CR-00043-002 (CAR)
DISTRICT: MIDDLE DISTRICT OF GEORGIA

Judgment - Page 4

 

SPECIAL CONDITIGNS OF SUPERWSED RELEASE

You shall participate in a substance abuse program that may include testing to determine whether you have reverted to the use of
drugs or alcohol and may also include treatment of alcohol and/or drug addiction or dependency. The U.S. Probation Gf`fice shall
administratively supervise your participation in the program by approving the program, administering the testing, and supervising the
treatment

 

 

Case 3:09-cr-00043-CAR-CHW Document 202 Filed 02/03/11 Page 5 of 6

DEFENDANT; DETRic McoowAN _
cAsE NUMBER 3;09-€R~00043~002 (cAR) Judgment Page 5
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CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments set forth in
the Schedule ofPayments.

Assessment Fine Restitution
TOTALS $ 100.00 $ $
ij The determination of restitution is deferred until . AnAmendea’ Judgment in a Crz'minal Case will be entered after such a
determination
l:l The defendant must make restitution (including community restitution) to the following victims in the amounts listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C § 3664(1), all nonfederal victims must
be paid in full prior to the United States receiving payment,

m Restitution amount ordered pursuant to plea agreement $

m The defendant must pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before

the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule of
Payments sheet may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

m The Court has determined that the defendant does not have the ability to pay interest, and it is ordered that:
m the interest requirement is waived for the ij fine l:l restitution
l:l the interest requirement is waived for the l:] fine m restitution is modified as follows:

*Findings for the total amount of losses are required under Chapter 109A, llO, llOA, and ll3A of Title 18, United States Code, for
offenses committed on or after September 13, 1994, but before April 23, 1996.

 

 

Case 3:09-cr-00043-CAR-CHW Document 202 Filed 02/03/11 Page 6 of 6

DEFENDANT: DETRIC McGOWAN
CASE NUMBER 3;09~CR-00043-002 (CAR)
DlS'I`RICT: MIDDLE DISTRICT OF GEORGIA

Judgment - Page 6

 

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A m Lump sum payment of $ Due immediately, balance due
l:] not later than , or

m inaccordance with m C, l:l D, ij E;or[] Fbelow; or

K<

Payment to begin immediately (may be combined with m C, l:l D, or m F below; or
Payment in equal installments of $ over a period of , to commence 60 days after the date of this judgment; or

Payment in equal instalhnents of $ over a period of , to commence 60 days after release from
imprisonment to a term of supervision; or

l:l l:ll:l

Payment during the term of supervised release will commence within 30 days after release from imprisonment. The Court
will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F m Special instructions regarding the payment of criminal monetary penalties:

Payment of criminal monetary penalties is due during incarceration unless the court has expressly ordered otherwise. During incarceration,
the Defendant shall make financial payments from any wages earned in accordance With the Inmate Financial Responsibility Program.
Upon release, payment during the term of Supervised Release will commence within 60 days. The Court will set the payment plan based on
an assessment of the Defendant’s ability to pay at that time.

Criminal monetary penalties are due in full immediately and payable to the clerk of the cou!t. The value of any future discovered assets
may be applied to offset the balance of criminal monetary penalties The Defendant may be included in the Treasury Offset Program
allowing qualified federal benefits to be applied to offset the balance of criminal monetary penalties

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

ij Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate
m The defendant shall pay the cost of prosecutionl
m The defendant shall pay the following court cost(s):

m The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order1 (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

